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 8
                                UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
11   ELON MUSK, et al.,                       Case No. 4:24-cv-04722-YGR

12                    Plaintiffs,             Assigned to Hon. Yvonne Gonzalez Rogers

13                                            PLAINTIFFS’ OPPOSITION TO
         v.
                                              REQUEST FOR LEAVE TO FILE
14                                            SUPPLEMENTAL MATERIAL IN
     SAMUEL ALTMAN, et al.,
15                                            SUPPORT OF OPENAI DEFENDANTS’
                      Defendants.             OPPOSITION TO PLAINTIFFS’
16                                            MOTION FOR A PRELIMINARY
                                              INJUNCTION
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                                                                  CASE NO. 24-CV-04722-YGR
30                                                          PLS.’ OPP. TO OPENAI SUPPL. RE PI
       Case 4:24-cv-04722-YGR           Document 117        Filed 02/12/25      Page 2 of 3



 1          Plaintiffs submit this Opposition to OpenAI Defendants’ Request to File Supplemental

 2 Material. Dkt. 116. Plaintiffs’ letter of intent to purchase OpenAI, Inc.’s assets1 is entirely
 3 irrelevant to their pending Motion for a Preliminary Injunction. The OpenAI Defendants’ Request

 4 introduces the letter to distract from the core issues before this Court.
 5          Plaintiffs’ Motion seeks to enjoin Sam Altman and OpenAI from breaching the terms of

 6 Musk’s donations and OpenAI’s charitable trust through repeated self-dealing, putting profits
 7 over safety, transferring its technology and keeping it closed source, concentrating AI’s power in
 8 the hands of Microsoft, and operating a de facto for-profit entity without required regulatory
 9 approvals. See Dkt. 73 at 19-20 (“Absent such approval, the Court should enjoin OpenAI from
10 further violating its obligations and abandoning its mission as a safety-first charitable
11 organization.”). Whether Musk or any other party might purchase OpenAI, Inc.’s assets following
12 regulatory approval of the “conversion” OpenAI itself initiated is immaterial to whether it is
13 currently violating its charitable obligations. The purchase offer would become relevant only
14 after—and if—(1) this Court denies Plaintiffs’ Motion, (2) OpenAI proceeds with its conversion,
15 and (3) OpenAI obtains approvals from the IRS and California and Delaware Attorneys General.2
16          Should these hurdles be met and the charity’s assets proceed to sale, a Musk-led

17 consortium has submitted a serious offer of $97.375 billion—money that would go to the charity
18 in furtherance of its mission. Yet, Altman, who plans to have significant equity in the corporation
19 presently planned to result from OpenAI’s “conversion,” rejected the offer unilaterally, on behalf
20 of the Board, before the Board had even seen the proposal. Ex. 1 at 1. These further breaches of
21 fiduciary duty to the charity illustrate Altman’s continuing adverse domination of the Board.
22          If OpenAI, Inc.’s Board is prepared to preserve the charity’s mission and stipulate to take

23 the “for sale” sign off its assets by halting its conversion, Musk will withdraw the bid. Otherwise,
24 the charity must be compensated by what an arms-length buyer will pay for its assets.
25
   1
     After Altman/OpenAI, Inc.’s prior breaches of charitable trust by transferring its intellectual
26 property and employees, OpenAI, Inc.’s assets—that Defendants now seek to “convert”—consist
27 almost entirely of its majority ownership and control over the OpenAI For-Profit Entities.
   2
     Even with regulatory approval, Altman and OpenAI are still liable to Musk for their broken
28 promises, and Defendants are still liable to OpenAI for all past breaches of charitable trust.
29
                                                       1                      CASE NO. 24-CV-04722-YGR
30                                                                      PLS.’ OPP. TO OPENAI SUPPL. RE PI
     Case 4:24-cv-04722-YGR     Document 117    Filed 02/12/25     Page 3 of 3



 1   DATED: February 12, 2025            Respectfully Submitted,

 2                                       TOBEROFF & ASSOCIATES, P.C.
 3
                                               /s/ Marc Toberoff
 4                                                Marc Toberoff

 5                                        Attorneys for Plaintiffs Elon Musk,
                                         Shivon Zilis, and X.AI Corp.
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